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                                    STATE
                                        OFHAWAII
                                  DEPART|llENTOFHEALTH
                                        POBox3378                              07-195-JP
                                  r-roNOLrJLU
                                          HAWAT 9680133/8

                                    March23, 2007


  MichaelB. Phelps,P,E,
  SeniorProjectlvlanager
  PARSONS
  1132BjshopStreet,Suite2102
  H o n o lu lu,
              Hl 96813


  Subject: Concurrenceletterfor the FinalPesticideSoilsManagement
                                                                Plan,Ohana
  MilitaryCommunities,
                    LLC,Public-PvateVentureHousing- Hawaii, datedFebruary
  2007and preparedby Parsons.


  DearMr. PhelDs:

  The Hawaii Departmentof Health(HDOH),HazardEvaluation& EmergencyResponse
  Ofiice(HEEROfiice)has reviewedthe SubjeclFinalPesticideSoilsManagementPlan
  andconcurwiththe plan'sdetailsto addresspesticide-impactedsoilsat identified
  Department of Navyand lvlarineCorpshousingcommunities in Hawaii. This
  concurrence        the useof the proposed
              includes                      Tier2 EALs(whichincorporate
  cumulativeriskconsiderationsfor multiple          for projectsites.Thankyou
                                         contaminants)
  againfor beingresponsiveto previousHEEROfficecomments   in developing thefinal
  soilsmanagement  plan.

  As notedin pastcomments     anddiscussion,   the HEEROfficedid notparticipate  in an
  initialreviewof the soilsampling  strategythatwasdeveloped  and usedfor the housing
  communitiesdiscussedin the FlnalPesticidesSoilsManagement       Plan.Consequently,
  additionaldiscussionand   justificalionwas requestedto supportinterpretationof soil
  samplingdatafor thoseneighborhoods      whereremediation was not determinedto be
  necessary(e.9.Manana-Marines      neighborhood).  Basedon the additionalinformation
  and juslificalionprovidedfor the Manana-Marines   neighborhood,the HEEROffice
  agreedwithParsonsthatestimated       risksdid notwarrantsoilsremediation for this
  neighborhood.

  lf anyadditional
                 soilsamplingshouldoccurin housingcommunitieswherepesticide
  exposures are beingevaluated,
                              the HEEROfficerecommends   thatthe planneddata
  qualityobjectives
                  and soilsampling
                                 strategybe reviewedby the HEEROfflcebefore
  implementation.Forneighborhoods thathavealreadybeensampledand


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  Michael       P.E.
  March23,2oo7
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  determined!q! to needsoilremediation,pleaseconsultwiththe HEEROfficeregarding
                          and riskestimates(likethe Manana-Marines
  sampledata interprelation                                      neighborhood
  notedabove).



  Sincerely,




  John Peard,Projectlvlanager




                        City Hawaii
  cc: KayChang,HMC/Forest
      LorenLund,PARSONS,SeniorToxicologist




  OHANA-FCRM010218
